[Cite as In re Crozier, 2024-Ohio-3150.]




             IN THE COURT OF APPEALS OF OHIO
                         ELEVENTH APPELLATE DISTRICT
                              PORTAGE COUNTY

IN THE MATTER OF:                             CASE NO. 2024-P-0009

MICHAEL CROZIER
                                              Civil Appeal from the
                                              Court of Common Pleas,
                                              Juvenile Division


                                              Trial Court No. 2023 CV 00896


                                           OPINION

                                  Decided: August 19, 2024
                              Judgment: Reversed and remanded


Myron P. Watson, 75 Erieview Plaza, Suite 108, Cleveland, OH 44114 (For
Appellant, Michael Crozier).

Victor V. Vigluicci, Portage County Prosecutor, and Theresa M. Scahill, Assistant
Prosecutor, 241 South Chestnut Street, Ravenna, OH 44266 (For Appellee, State of
Ohio).



MATT LYNCH, J.

        {¶1}     Appellant, Michael Crozier, appeals from the judgment of the Portage

County Court of Common Pleas, denying his Application for Relief from Weapons

Disability. For the following reasons, we reverse the decision of the lower court and

remand for further proceedings consistent with this opinion.

        {¶2}     On November 6, 2023, Crozier filed an Application for Relief from

Weapons Disability Pursuant to R.C. 2923.14 in the Portage County Court of Common

Pleas, which contained a notation requesting an oral hearing. The application stated
that the basis for the disability was a conviction for Gross Sexual Imposition in Portage

County Common Pleas Case No. 2007 CR 0570. For that offense, he was sentenced

to 18 months in prison, which term was completed in 2009. He argued that, since that

time, he has demonstrated he is a law-abiding citizen who has been employed in his

current job as a truck driver for over 14 years.

       {¶3}   The State filed a Response, in which it observed that Crozier had been

subject to a Domestic Violence Protection Order in 2014, protecting the stepdaughter

who was the victim in the Gross Sexual Imposition case. The State opposed Crozier’s

request, arguing that “he poses a continuing threat to the safety and welfare of the

victim as he continued to stalk and harass [her] even after his conviction and

imprisonment for improper sexual contact with her.”

       {¶4}   On January 11, 2024, the trial court issued an Order finding that Crozier

“has not lived a law-abiding life since his conviction in 2008 and does not appear likely

to do so in the future,” based on the protection order referenced by the State. It denied

Crozier’s application.

       {¶5}   Crozier timely appeals and raises the following assignment of error:

       {¶6}   “The trial court erred in denying the petitioner’s application for relief from

disability without a hearing.”

       {¶7}   Crozier argues that, pursuant to this court’s decision in In re Parks,

2021-Ohio-1258 (11th Dist.), the trial court was required to hold a hearing on his

application prior to issuing a ruling. The State concedes the error based on this

precedent.

       {¶8}   The trial court’s determination of whether to grant an application for relief
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from disability under R.C. 2923.14(D) is reviewed for an abuse of discretion. In re

Allender, 2018-Ohio-2147, ¶ 13 (11th Dist.). An abuse of discretion is the court’s

“‘failure to exercise sound, reasonable, and legal decision-making.’”              State v.

Beechler, 2010-Ohio-1900, ¶ 62 (2d Dist.), quoting Black’s Law Dictionary (8th Ed.

2004).

         {¶9}   Pursuant to R.C. 2923.13(A)(2), “[u]nless relieved from disability under

operation of law or legal process, no person shall knowingly acquire, have, carry, or

use any firearm or dangerous ordnance,” if they have been convicted of Gross Sexual

Imposition. R.C. 2923.14(A)(1) provides that a person subject to such prohibition

“may apply to the court of common pleas in the county in which the person resides for

relief from such prohibition.”      This application shall include his convictions and

sentence and facts showing he is “a fit subject for relief.” R.C. 2923.14(B)(1) and (2).

         {¶10} A trial court is authorized to grant an application for relief from disability

under certain circumstances. R.C. 2923.14(D)(1)-(3) provides that, “[u]pon hearing,

the court may grant the applicant relief pursuant to this section” if the person has been

discharged from imprisonment, has led a law-abiding life and appears likely to

continue to do so, and is not otherwise prohibited from having firearms. (Emphasis

added).

         {¶11} In Parks, 2021-Ohio-1258, this court observed that while “R.C.

2923.14(D) does not specify the form of the required ‘hearing’ on an application for

relief from disability . . . [c]ourts that have interpreted R.C. 2923.14(D) have

determined that it requires what we have characterized as an ‘evidentiary hearing.’”

Id. at ¶ 37 and 39, citing State v. Jomaa, 1990 WL 187240, *1 (6th Dist. Nov. 30, 1990)
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(“a hearing must be held by the trial court following the filing of a motion seeking relief

from disability” at which “an opportunity for both sides to present evidence must be

afforded”); State v. Hairston, 2009-Ohio-3382, ¶ 18 (8th Dist.) (“the lower court erred

in denying Hairston’s application for relief from disability without a hearing”).

       {¶12} In Parks, this court reversed the order of the lower court denying the

appellant’s application for relief from weapons disability where the “trial court’s

procedures were similar to what we have characterized as a ‘nonoral hearing,’” i.e.,

where it reviewed the parties’ filings and issued a ruling. Id. at ¶ 45. It held that this

was insufficient since the defendant had requested a hearing and “the trial court was

not presented with evidentiary-quality material prior to making its determination” since

the application contained unsworn assertions. Id. at ¶ 45-46. Similarly, Crozier

requested an oral hearing and made unsworn statements in his application but did not

get the opportunity to present evidentiary-quality material to support his arguments at

a hearing. An evidentiary hearing was required pursuant to R.C. 2923.14(D). Parks

at ¶ 48; Swann v. State, 2022-Ohio-1977, ¶ 16 (6th Dist.).

       {¶13} Based on the foregoing, we find that the trial court erred in denying

Crozier’s application for relief without holding an evidentiary hearing. Parks at ¶ 48.

The trial court’s judgment is reversed, and the matter is remanded with instructions

for the trial court to hold a hearing and give both sides an opportunity to present

evidence relevant to the criteria listed in R.C. 2923.14(D). Id. at ¶ 49.

       {¶14} The sole assignment of error is with merit.

       {¶15} For the foregoing reasons, the judgment of the Portage County Court of

Common Pleas, denying Crozier’s Application for Relief from Weapons Disability, is
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reversed and this matter is remanded for further proceedings consistent with this

opinion. Costs to be taxed against appellee.




EUGENE A. LUCCI, P.J.,

ROBERT J. PATTON, J.,

concur.




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